 

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE
AT NASHVILLE

THE CINCINNATI INSURANCE
COMPANY, and APPLIED
TECHNICAL SERVICES, INC.

Plaintiffs, Case # 3 :l l-cv-Ol 169

UNITED STATES LIABILITY INSURANCE
COMPANY d/b/a UNITED STATES
LIABILITY GROUP,

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Defendant.

 

UNITED STATES LIABILITY INSURANCE COMPANY’S
MOTION FOR SUMMARY JUDGMENT

 

Comes now United States Liability Insurance (”USLI”), by and through counsel,
pursuant to Federal Rule of Civil Procedure 56 and moves this Honorable Court for an order
granting it summary judgment Defendant Would show that there are no disputes of material
fact and that it is entitled to a judgment as a matter of law for the following reasons: (l)
USLI is not liable to Plaintiff because Defendant Applied Technical Services, Inc. failed to
provide notice of the claims against it as soon as practicable, Which is a condition of the
policy at issue; and (2) there is no coverage under the policy at issue because the “Wrongful
acts” by Applied Technical Services, Ino. and the “economic loss” did not both occur during
the policy term.

In support of this motion, Defendant contemporaneously herewith files its

Memorandum in Support and its Statement of Undisputed Material Facts. In addition, USLI

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attaches as Exhibit “A” the affidavit of E. Metts Hardy.

WHEREFORE, premises considered, Defendant USLI requests an order of this
Honorable Court granting it a judgment as a matter of law and dismissing Plaintiffs’ case
With prej udice.

Respectfully submitted,

Baker, Kinsman, Hollis, & Clelland, P.C.
701 -Market Street

First Tennessee Bldg., Suite 1500
Chattanooga, TN 37402-4825

(423) 756-3333

By: s/N. Mark Kinsman
N. Mark Kinsman, BPR 6039
Attorneys for Defendant

CERTIFICATE OF SERVICE

The undersigned hereby certifies that on inch / 20/`2 , a copy of the Within and
foregoing document Was filed electronically. Notice of this filing Was sent by operation
of the Court’s electronic filing system to all parties indicated on the electronic filing
receipt, including: Notice of those filings Was sent by operation of the Court’s electronic
filing system to all parties indicated on the electronic filing receipt including:

John M. Neal
THE NEAL LAW FIRM
P.O. Box 51930
` Knoxville, TN 37950
All other parties Will be served by regular U.S. mail. Parties may access this

filing through the Court’s electronic filing system.
Baker, Kinsman, Hollis & Clelland, P.C.

By: s/N. Mark Kinsman

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